                   Case 24-21209-LMI           Doc 166        Filed 01/07/25        Page 1 of 5




                              UNITED STATES BANKRUPTCY COURT
                               SOUTHERN DISTRICT OF FLORIDA
                                       MIAMI DIVISION
                                      www.flsb.uscourts.gov



    In re:                                                     Chapter 11

    SHIFTPIXY, INC. et, al.1                                   Case No. 24-21209-LMI

          Debtors.                                             (Jointly Administered)
    _______________________________/

                                            NOTICE OF FILING

             PLEASE TAKE NOTICE THAT the Debtors hereby file the Hourly Services Invoice for

    Sichenzia Ross Ference and Carmel, LLC attached hereto as Exhibit A and pursuant to the

    Debtors’ Expedited Application to Employ Sichenzia Ross Ference Carmel, LLP as Special

    Counsel Retroactive to October 28, 2024 [ECF No. 160].

Dated January 7, 2025.
                                                      DGIM Law, PLLC
                                                      Counsel for the Debtors
                                                      2875 NE 191st Street, Suite 705
                                                      Aventura, FL 33180
                                                      Phone: (305) 763-8708

                                                      /s/ Monique D. Hayes
                                                      Monique D. Hayes, Esq.
                                                      Florida Bar No. 843571
                                                      Email: monique@dgimlaw.com




1
 The Debtors are: (i) Shiftpixy, Inc.; (ii) Shiftpixy Staffing, Inc.; and (iii) ReThink Human Capital Management, Inc.
The address of the Debtors is 1401 NW 25th Street, Miami, FL 33142.
               Case 24-21209-LMI         Doc 166      Filed 01/07/25    Page 2 of 5




                                 CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that a copy of the Notice was served via CM/ECF Notification to

all parties registered to receive notice on 7th day of January, 2025.



                                               /s/ Monique D. Hayes
                                               Monique D. Hayes, Esq.
                                               Florida Bar No. 843571
                                               Email: monique@dgimlaw.com




                                                  2
Case 24-21209-LMI   Doc 166   Filed 01/07/25   Page 3 of 5




                    EXHIBIT A




                          3
                       Case 24-21209-LMI         Doc 166    Filed 01/07/25    Page 4 of 5




ShiftPixy, Inc.
502 Birckell Key Drive Suite 300
Miami, FL 33309


ID: 4614-0013 - GS                                                                               Invoice 129363
Re: Hourly Services (Post-Bankruptcy)                                                         November 18, 2024

For Services Rendered Through October 31, 2024


           Current Fees                                                                             $ 6,340.00

           Total Due                                                                                $ 6,340.00




Payment may be made by wire transfer or ACH to the firm's bank account.
                                                       Citi Private Bank
                                                       153 East 53rd Street, 23rd Floor
                                                       New York, NY 10019
                                                       A/C of Sichenzia Ross Ference Carmel LLP
                                                       A/C#:
                                                       ABA#:
                                                       SWIFT Code:
                    Case 24-21209-LMI         Doc 166       Filed 01/07/25       Page 5 of 5

                                      Sichenzia Ross Ference Carmel LLP

ShiftPixy, Inc.                                                                                   November 18, 2024
I.D. 4614-0013 - GS                                                                                  Invoice 129363
Re: Hourly Services (Post-Bankruptcy)                                                                       Page 2


                                                  Fee Recap
                                                                     Hours           Rate/Hour           Amount
Gregory Sichenzia                                                      4.60            1,000.00          4,600.00
Jeff A. Cahlon                                                         2.90              600.00          1,740.00
                                                     Totals             7.50                             6,340.00

                                                     Fees
Date     Atty   Description                                                          Hours       Rate    Amount
10/28/24 GS     Reviewed 8-K and telephone conference                                  1.60    1,000.0   1,600.00

10/28/24 JAC    Preparation of 8-K, phone calls and exchange e-mails regarding         1.50    600.00      900.00
                various matters.

10/28/24 GS     Bankruptcy petition                                                    1.30    1,000.0    1,300.00

10/29/24 JAC    Research and exchange e-mails regarding 8-K requirements,              1.00    600.00      600.00
                preparation of 8-K.
10/29/24 GS     Various matters and telephone conference                               0.80    1,000.0     800.00

10/30/24 JAC    Review Form 4, preparation of 8-K.                                     0.40    600.00      240.00
10/30/24 GS     Form 4 and 8-K matters                                                 0.90    1,000.0     900.00

                                                              Total Fees               7.50              6,340.00
